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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAYLOR BROWN, SHAWN PALMER, :                 CIVIL ACTION NO. 1:24-CV-1015
MAX NESS, and SECOND         :
AMENDMENT FOUNDATION,        :                (Judge Conner)
                             :
                 Plaintiffs  :
                             :
             v.              :
                             :
Col. CHRISTOPHER PARIS,      :
Commissioner of Pennsylvania :
State Police,                :
                             :
                 Defendant   :

                                      ORDER

      AND NOW, this 29th day of July, 2024, upon consideration of the motion

(Doc. 2) for a temporary restraining order and preliminary injunction filed by

plaintiffs Taylor Brown, Shawn Palmer, Max Ness, and the Second Amendment

Foundation, wherein plaintiffs move the court to restrain and thereafter enjoin

defendant Christopher Paris, Commissioner of the Pennsylvania State Police, from

enforcing Sections 6106, 6108, and 6109 of Pennsylvania’s Uniform Firearms Act of

1995 (“UFA” or “the Act”), see 18 PA. CONS. STAT. § 6101 et seq.,1 on the grounds that




      1
         Although there are numerous exceptions, the Commonwealth of
Pennsylvania generally permits open carry of firearms without a license. See 18 PA.
CONS. STAT. § 6109(a); id. § 6106(a). To carry a concealed weapon, however, an
individual must be at least 21 years old and possess a firearms license issued by the
sheriff of the county in which they reside. Section 6106 prohibits unlicensed
concealed carry and carry of any kind in a vehicle. See id. § 6106. Section 6108
prohibits all unlicensed carry in the City of Philadelphia. See id. § 6108; Spahn
v. Zoning Bd. of Adjustment, 977 A.2d 1132, 1143 (Pa. 2009).
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they violate plaintiffs’ Second Amendment rights,2 and further upon consideration

of the briefs in support of and in opposition to plaintiffs’ motion, (see Docs. 8, 11, 12,

14), in which plaintiffs assert, inter alia, that “the deprivation of a constitutional

right constitutes irreparable harm,” (see Doc. 8 at 16 (citing, inter alia, K.A. ex rel

Ayers v. Pocono Mountain Sch. Dist., 710 F.3d 99, 113 (3d Cir. 2013))), and in which

Commissioner Paris counters, inter alia, that plaintiffs have not demonstrated a

likelihood of suffering irreparable harm because, regardless of the enforcement of

these provisions, plaintiffs “still may open carry,” (see Doc. 12 at 21),3 and, following

a hearing on plaintiffs’ motion on July 11, 2024, the court noting that a preliminary

injunction is “an extraordinary and drastic remedy,” see Mazurek v. Armstrong, 520



       2
        The individual plaintiffs are 18-to-20-year-old residents of Pennsylvania
who, because they are not yet 21 years old, cannot obtain firearms licenses under
Section 6109 of the UFA. See 18 PA. CONS. STAT. § 6109(b). We recently assessed
the constitutionality of several UFA provisions in Suarez v. Paris, No. 1:21-CV-710,
Doc. 61 (M.D. Pa. July 24, 2024), and we incorporate our analysis by reference.
Relevant here, in Suarez, we found Section 6106 to be facially unconstitutional
insofar as it prohibits carry of any kind in a vehicle, and we enjoined Commissioner
Paris from enforcing that prohibition in toto. See id. at Part IV.D; id., Doc. 62
(order). The court’s disposition in Suarez moots plaintiffs’ instant request for
emergency relief.
        Plaintiffs challenge Section 6106’s constitutionality as applied to them insofar
as it prohibits concealed carry without a license, see 18 PA. CONS. STAT. § 6106(a);
see also Suarez, No. 1:21-CV-710, Doc. 61, at Part IV.C-D, as well as the
constitutionality of Section 6108 both facially and as applied. (See Doc. 1 ¶¶ 87-100).
In the alternative, they challenge the constitutionality of the age restriction
enshrined in Section 6109(b). (See id. ¶¶ 101-16). Plaintiffs assert that they intend
to engage in various acts for which they could be arrested and prosecuted under
these provisions. (See id. ¶¶ 21-23; Docs. 1-3, 1-4, 1-5). Accordingly, they argue that
enforcement of Sections 6106, 6108, and 6109 would violate their Second
Amendment right “to carry operable firearms in public for all lawful purposes,
including self-defense.” (See Doc. 8 at 21).
       3
           But see Suarez, No. 1:21-CV-710, Doc. 61, at 28 n.19.


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U.S. 968, 972 (1997) (per curiam) (citation omitted), the availability of which depends

upon a consideration of (1) the movant’s likelihood of success on the merits; (2) the

risk of irreparable injury absent preliminary relief; (3) the balance of equities; and

(4) the public interest, see Winter v. NRDC, 555 U.S. 7, 33 (2008); see also Nken

v. Holder, 556 U.S. 418, 435 (2009) (when government is opposing party,

consideration of third and fourth factors “merge”), and further noting that “any one

factor may give a district court reason enough to exercise its sound discretion by

denying an injunction,” Del. State Sportsmen’s Ass’n v. Del. Dep’t of Safety &

Homeland Sec., No. 23-1633, ___ F.4th ___, 2024 WL 3406290, at *6 (3d Cir. July 15,

2024) (“DSSA”) (citing Reilly v. City of Harrisburg, 858 F.3d 173, 177-79 (3d Cir.

2017)), and the court observing that our court of appeals recently rejected

arguments nearly identical to those advanced by plaintiffs regarding the risk of

irreparable injury in the Second Amendment context;4 reaffirmed the principle that




      4
         Plaintiffs contend that, apart from the First Amendment, our court of
appeals has also recognized that potential Fourth Amendment injuries may be
irreparable. (See Doc. 8 at 17 (citing Lewis v. Kugler, 446 F.2d 1343, 1350 (3d Cir.
1971)). For that reason, they assert that “[r]ights under the Second Amendment
should be treated no differently” from other rights. (See id. (citations omitted)).
These arguments are unavailing in light of DSSA. There, our court of appeals
clarified that the irreparable harm finding in Lewis stemmed not from the Fourth
Amendment claims, but from the plaintiffs’ assertion that their First Amendment
rights would be chilled. See DSSA, 2024 WL 3406290, at *7 (citing Lewis, 446 F.2d
at 1350 n.12). Indeed, the court stressed that “[u]nique First Amendment doctrines”
warrant treating rights to speech and free exercise differently from other rights
when analyzing the availability of preliminary injunctive relief. See id. (citations
omitted); but see id. at *8 (“We do not hold that Second Amendment harms . . .
cannot be irreparable.”).
      Plaintiffs suggest that DSSA “appears to be at odds with other precedent
from the Third Circuit and may result in a request for reconsideration en banc.”

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“[c]onstitutional harm is not necessarily synonymous with . . . irreparable harm”

where preliminary injunctive relief is concerned, see id. at *7 (quoting Hohe

v. Casey, 868 F.2d 69, 73 (3d Cir. 1989)); highlighted that First Amendment cases

constitute the lone exception to that rule based upon a well-established judicial

presumption, see id. (citing, inter alia, Ayers, 710 F.3d at 113); and cautioned that

the “paramount purpose” of preliminary injunctive relief is not preventing harm,

but ensuring the court’s ability to grant an effective remedy, see id. at *4 (citations

omitted), and it appearing that neither a preliminary injunction nor a temporary

restraining order is needed to “preserve the relative positions of the parties until a

trial on the merits can be held” in this matter, see id. (quoting Starbucks Corp.

v. McKinney, 144 S. Ct. 1570, 1576 (2024) (quoting Univ. of Tex. v. Camenisch, 451

U.S. 390, 395 (1981))), and it further appearing that none of the conduct described in

plaintiffs’ motion implicates “an urgent need for speedy action to protect” their

rights, see id. at *8 (quoting Citibank, N.A. v. Citytrust, 756 F.2d 273, 276 (2d Cir.

1985)), given the widespread availability of open carry in Pennsylvania, see supra

note 1; but see supra note 3,5 and it also appearing that, even if plaintiffs had



(See Doc. 17 at 1). Their supposition aside, we are bound by the current state of the
law as articulated by our court of appeals.
      5
        Only Palmer specifically asserts an intent to visit Philadelphia. (See
Doc. 1-4 ¶ 5). Because he is under the age of 21 and cannot obtain a license, the
interplay of Section 6109(b) and Section 6108 would prohibit him from carrying a
firearm in the Commonwealth’s largest city. While the court recognizes that the
confluence of these provisions creates an exception to the general rule of unlicensed
open carry, that consideration does not alter our analysis. Setting aside the
concerns we expressed in Suarez about the propriety of adjudicating the
constitutionality of Section 6108 in this venue, see Suarez, No. 1:21-CV-710, Doc. 61,
at Part III.A, we perceive nothing exceptional about the circumstances of planning

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demonstrated irreparable harm, the balance of the equities and the public interest

favor denying relief given the administrative challenges and potential safety

concerns associated with granting emergency reprieves from a civil licensing

scheme either to an entire class, see, e.g., Worth v. Jacobson, No. 21-CV-1348,

2023 WL 3052730, at *3-4 (D. Minn. Apr. 24, 2023) (staying relief pending appeal

after granting summary judgment to 18-to-20-year-olds who challenged Minnesota’s

age restriction for permits requisite to both open and concealed carry), aff’d,

No. 23-2248, ___ F.4th ___, 2024 WL 3419668, at *14 (8th Cir. 2024), or to members of

that class on an individualized basis in light of idiosyncratic travel plans, and the

court therefore concluding that plaintiffs have failed to demonstrate that they will

suffer irreparable injury absent preliminary relief nor, in the alternative, that equity

or the public interest warrant such an “extraordinary remedy” at this time, see

DSSA, 2024 WL 3406290, at *3 (quoting Mallet & Co. v. Lacayo, 16 F.4th 364, 391 (3d

Cir. 2021)), it is hereby ORDERED that:

      1.       Plaintiffs’ motion (Doc. 2) for a preliminary injunction and temporary
               restraining order is DENIED as moot to the extent plaintiffs seek relief
               from the vehicle provision of Section 6106 of the UFA. See Suarez,
               No. 1:21-CV-710, Doc. 61, at Part IV.D; Doc. 62 (order).

      2.       The motion (Doc. 2) is DENIED in all other respects.

                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania

an occasional trip to tourist attractions located more than 100 miles away from
Palmer’s residence, (see Doc. 1-4 ¶ 5(c)(iii)-(iv)). Whatever the merits of plaintiffs’
various claims, we will not grant the “drastic remedy” they request on the
artificially truncated record before us. See DSSA, 2024 WL 3406290, at *9; see also
id. at *2 (“Preliminary injunctions are not automatic.”).
